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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-332 GEB

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER

14   TINA MARIE BINI, and
     MATTHEW LEE BOYLE,
15
                                    Defendants.
16

17
                                                  STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendants Tina
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     Marie Bini and Matthew Lee Boyle, by and through their counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for status on March 21, 2014.
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            2.       By this stipulation, defendants now move to continue the status conference until June 13,
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     2014 and to exclude time between March 21, 2014 and June 13, 2014 under Local Code T4. The United
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     States does not oppose this request.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The United States has represented that the discovery associated with this case
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     includes investigative reports and wiretap applications in electronic form constituting approximately
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     1600 pages of documents. The United States also represents that the discovery includes approximately
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      Stipulation and Proposed Order re: Continuance of   1
      Status Hearing and Exclusion of Time
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 1 20 CDs of audio recordings, including intercepted communications, and transcripts and line reports. All

 2 of this discovery has been produced directly to counsel.

 3                   b)     Counsel for defendants desire additional time to consult with their clients, to

 4 conduct investigation and research related to the charges, to review discovery for this matter, to discuss

 5 potential resolutions with their clients, and to otherwise prepare for trial.

 6                   c)     Counsel for defendants believe that failure to grant the above-requested

 7 continuance would deny them the reasonable time necessary for effective preparation, taking into

 8 account the exercise of due diligence.

 9                   d)     The United States does not object to the continuance.

10                   e)     Based on the above-stated findings, the ends of justice served by continuing the

11 case as requested outweigh the interest of the public and the defendant in a trial within the original date

12 prescribed by the Speedy Trial Act.

13                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14 et seq., within which trial must commence, the time period of March 21, 2014 to June 13, 2014,

15 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

16 results from a continuance granted by the Court at defendants’ request on the basis of the Court’s

17 finding that the ends of justice served by taking such action outweigh the best interest of the public and

18 the defendant in a speedy trial.

19          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

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      Stipulation and Proposed Order re: Continuance of    2
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 1        IT IS SO STIPULATED.

 2 Dated: March 19, 2014                                     BENJAMIN B. WAGNER
                                                             United States Attorney
 3
                                                             /s/ Todd A. Pickles
 4                                                           TODD A. PICKLES
                                                             Assistant United States Attorney
 5

 6 Dated: March 19, 2014                                     /s/ Todd A. Pickles for
                                                             DANIEL KOUKOL, ESQ.
 7                                                           Counsel for Defendant Tina Bini

 8

 9 Dated: March 20, 2014                                     /s/ Todd A. Pickles for
                                                             CARL LARSON, ESQ.
10                                                           Counsel for Defendant Matthew Boyle

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13                                                   ORDER

14        IT IS SO FOUND AND ORDERED.

15 Dated: March 20, 2014

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     Stipulation and Proposed Order re: Continuance of   3
     Status Hearing and Exclusion of Time
